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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  STANLEY HOBEREK,

                Petitioner,

  v.                                              Civil Action No. 5:00CV184
                                              (Criminal Action No. 5:99CR13)
  UNITED STATES OF AMERICA,                                          (STAMP)

                Respondent.


                         MEMORANDUM OPINION AND ORDER
                      AFFIRMING AND ADOPTING REPORT AND
                     RECOMMENDATION OF MAGISTRATE JUDGE

                              I.    Procedural History

          Pro se petitioner, Stanley Hoberek, was indicted by a grand

  jury on February 3, 1994 in a 29-count indictment relating to

  possession and distribution of drugs.             Petitioner was charged in

  Counts One, Twenty-Two, Twenty-Three and Twenty-Four.              Petitioner

  was sentenced to a total of 324-months imprisonment. Specifically,

  petitioner was sentenced to 324-months imprisonment as to Count

  One, 240-months imprisonment as to Count Twenty-Two and 60-months

  imprisonment as to Counts Twenty-Three and Twenty-Four.              All terms

  of imprisonment were to be served concurrently with the others.

  The petitioner then appealed his conviction to the United States

  Court    of   Appeals   for      the   Fourth   Circuit   where   petitioner’s

  conviction was affirmed on August 11, 2000.

          On October 25, 2000, the petitioner filed a motion to vacate,

  set aside, or correct sentence by a person in federal custody
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  pursuant to 28 U.S.C. § 2255.            The petition was denied by this

  Court on April 11, 2002.

           On December 14, 2005, the petitioner filed a “Motion to Vacate

  Conviction Based on a Previously Unavailable Claim.”                The United

  States     filed   a   response    and   the    petitioner    replied    thereto.

  Thereafter, the petitioner filed a “Motion to Vacate Judgment of

  Section 2255 Entered in this Case.”              The matter was referred to

  United States Magistrate Judge James E. Seibert for initial review

  and report and recommendation pursuant to Local Rule of Prisoner

  Litigation Procedure 83.15.           The magistrate judge construed both

  motions as applications for a writ of habeas corpus pursuant to 28

  U.S.C. § 2255.

           Magistrate Judge Seibert filed a report recommending that the

  petitioner’s § 2255 motions be dismissed for lack of jurisdiction.

  The magistrate judge also informed the parties that if they

  objected to any portion of his recommendation, they must file

  written objections within ten days after being served with a copy

  of his recommendation.          The petitioner filed objections.

                            II.     Standard of Review

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review   of    any   portion    of   the   magistrate    judge’s

  recommendation to which objection is timely made.                  As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld


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  unless they are “clearly erroneous.”        See Orpiano v. Johnson, 687

  F.2d 44, 47 (4th Cir. 1982); Webb v. Califano, 468 F. Supp. 825

  (E.D. Cal. 1979).      Because the petitioner has filed objections,

  this Court will undertake a de novo review as to those portions of

  the report and recommendation to which objections were made.

                               III.   Discussion

        Title 28, United States Code, Section 2255 provides that:

        A second or successive motion must be certified as
        provided in section 2244 by a panel of the appropriate
        court of appeals to contain --

        (1) newly discovered evidence that, if proven and viewed
        in light of the evidence as a whole, would be sufficient
        to establish by clear and convincing evidence that no
        reasonable factfinder would have found the movant guilty
        of the offense; or

        (2) a new rule of constitutional law, made retroactive
        to cases on collateral review by the Supreme Court, that
        was previously unavailable.

  28 U.S.C. § 2255.     A § 2255 petition is successive when the first

  petition was dismissed on the merits.         Harvey v. Horan, 278 F.3d

  370, 379 (4th Cir. 2002).

        In this case, the petitioner’s first § 2255 motion was

  considered on the merits.      The petitioner’s current § 2255 motions

  challenge the same sentence that was challenged in his first § 2255

  motion.    Thus, the magistrate judge found that the petitioner’s

  current motions are successive petitions and that the petitioner

  did not obtain authorization from the United States Court of

  Appeals for the Fourth Circuit to file a successive § 2255 motion


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  in this Court.    Accordingly, the magistrate judge recommended that

  the petitioner’s current § 2255 motions be denied with prejudice.

        The petitioner does not object to the dismissal of his first

  § 2255 petition, styled “Motion to Vacate Conviction Based on a

  Previously Unavailable Claim.”           The petitioner agrees that the

  motion is no longer viable because the United States Supreme Court

  recently held that Crawford v. Washington, 541 U.S. 26 (2004) is

  not retroactive.      Whorton v. Bockting, 127 S. Ct. 1173 (2007).

  Rather, the petitioner contends that his second motion, styled

  “Motion to Vacate Judgment of Section 2255 Entered in this Case,”

  is not a new petition for habeas corpus but is a motion for

  reconsideration of the denial of his previous § 2255 petition. The

  petitioner asserts that he is entitled to reconsideration under

  Federal Rule of Civil Procedure 60(b)(6) because in adopting the

  report and recommendation of the magistrate judge, this Court did

  not reach the merits of petitioner’s Apprendi v. New Jersey, 530

  U.S. 466 (2000), claim.

        The petitioner’s objections are without merit. The magistrate

  judge appropriately construed the petitioner’s motion as a petition

  pursuant to 28 U.S.C. § 2255.          The motion attacks this Court’s

  previous   resolution    of   the   petitioner’s    Apprendi    claim,   and

  therefore it is effectively indistinguishable from a petition for

  habeas corpus.     See Gonzalez v. Crosby, 545 U.S. 524, 531 (2005).

  Specifically, the petitioner argues in his motion that “this Court


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  should have vacated the sentence, and should do so now” because

  this Court did not appropriately resolve the petitioner’s Apprendi

  claim.   The petitioner may not circumvent the rules for filing a

  second or successive § 2255 petition by couching such petition in

  the language of a Rule 60(b) motion.             Id.

        Because   the    petitioner    did       not     obtain   the   appropriate

  authorization from the United States Court of Appeals for the

  Fourth Circuit to file a second or successive § 2255 petition, this

  Court must dismiss both of petitioner’s § 2255 petitions with

  prejudice for lack of jurisdiction.

                                V.    Conclusion

        Because, after a de novo review, this Court concludes that the

  magistrate judge’s recommendation is proper and the petitioner’s

  objections to the report and recommendation lack merit, this Court

  hereby   AFFIRMS   and   ADOPTS    the       magistrate    judge’s    report   and

  recommendation.       Accordingly, the petitioner’s § 2255 motions are

  DENIED WITH PREJUDICE for lack of jurisdiction.                   It is further

  ORDERED that this case be DISMISSED with prejudice and STRICKEN

  from the active docket of this Court.

        Should the petitioner choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit,

  he is ADVISED that he must file a notice of appeal with the Clerk

  of this Court within 30 days after the date of the entry of the

  judgment order.       Upon reviewing the notice of appeal, this Court


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  will either issue a certificate of appealability or state why a

  certificate should not issue in accordance with Federal Rule of

  Appellate   Procedure    22(b)(1).       If   this   Court   should   deny   a

  certification, the petitioner may request a circuit judge of the

  United States Court of Appeals for the Fourth Circuit to issue the

  certificate.

        IT IS SO ORDERED.

        The Clerk is DIRECTED to transmit a copy of this memorandum

  opinion and order to the pro se petitioner and to counsel of record

  herein.

        DATED:     October 22, 2007



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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